Case 2:22-cv-00153-SAB   ECF No. 1   filed 06/27/22   PageID.1 Page 1 of 11
Case 2:22-cv-00153-SAB   ECF No. 1   filed 06/27/22   PageID.2 Page 2 of 11
Case 2:22-cv-00153-SAB   ECF No. 1   filed 06/27/22   PageID.3 Page 3 of 11
Case 2:22-cv-00153-SAB   ECF No. 1   filed 06/27/22   PageID.4 Page 4 of 11
Case 2:22-cv-00153-SAB   ECF No. 1   filed 06/27/22   PageID.5 Page 5 of 11
Case 2:22-cv-00153-SAB   ECF No. 1   filed 06/27/22   PageID.6 Page 6 of 11
Case 2:22-cv-00153-SAB   ECF No. 1   filed 06/27/22   PageID.7 Page 7 of 11
Case 2:22-cv-00153-SAB   ECF No. 1   filed 06/27/22   PageID.8 Page 8 of 11
Case 2:22-cv-00153-SAB   ECF No. 1   filed 06/27/22   PageID.9 Page 9 of 11
Case 2:22-cv-00153-SAB   ECF No. 1   filed 06/27/22   PageID.10 Page 10 of 11
Case 2:22-cv-00153-SAB   ECF No. 1   filed 06/27/22   PageID.11 Page 11 of 11
